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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-21964-CMA

   SECURITIES AND EXCHANGE
   COMMISSION,

           Plaintiff,
   v.

   TCA FUND MANAGEMENT GROUP CORP.,
   et al.,
               Defendants.
   ______________________________________/

    ORDER GRANTING RECEIVER’S FIFTH INTERIM OMNIBUS APPLICATION FOR
    ALLOWANCE AND PAYMENT OF PROFESSIONAL FEES AND REIMBURSEMENT
            OF EXPENSES FOR APRIL 1, 2021 THROUGH JUNE 30, 2021

           THIS CAUSE having come before the Court upon Jonathan E. Perlman, Esq.’s, as court-

   appointed Receiver (the “Receiver”) over the Receivership Defendants TCA Fund Management

   Group Corp. (“TCA”) and TCA Global Credit Fund GP, Ltd. (“GP”), and Relief Defendants TCA

   Global Credit Fund, LP (“Feeder Fund LP”), TCA Global Credit Fund, Ltd., TCA Global Lending

   Corp. (“Global Lending”), and TCA Global Credit Master Fund, LP (“Master Fund”) Second

   Interim Omnibus Application for Allowance and Payment of Professional Fees and Reimbursement

   of Expenses For April 1, 2021 Through June 30, 2021 (the “Fifth Application”), filed on August

   26, 2021.

           The Court has considered the Fifth Application and being otherwise fully advised in the

   premises, it is

           ADJUDGED that the Motion is GRANTED. The Fifth Application is APPROVED.

           ADJUDGED that the Receiver and Genovese Joblove & Battista, P.A.’s fees of

   $753,479.96 and expenses of $32,557.20 are APPROVED. The Receiver is authorized to pay
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   Genovese Joblove & Battista, P.A. the sum of $635,341.17, representing 80% of the approved fees

   ($753,479.96) and 100% of expenses ($32,557.20) earned during the Fifth Application period of

   April 1, 2021 through June 30, 2021, with the remaining 20% of the approved fees to be paid out

   at the discretion of the Court as part of the final fee application submitted at the close of the

   receivership.

           ADJUDGED that Collas Crill’s fees of $6,492.50 are APPROVED. The Receiver is

   authorized to pay Collas Crill $5,194.00, representing 80% of the approved fees ($6,492.50) earned

   during the Fifth Application period of April 1, 2021 through June 30, 2021, with the remaining

   20% of the approved fees to be paid out at the discretion of the Court as part of the final fee

   application submitted at the close of the receivership.

           ADJUDGED that Yip Associates’ fees of $276,367.82 are APPROVED. The Receiver is

   authorized to pay Yip Associates $221,094.26, representing 80% of the approved fees

   ($276,367.82) earned during the Fifth Application period of April 1, 2021 through June 30, 2021,

   with the remaining 20% of the approved fees to be paid out at the discretion of the Court as part

   of the final fee application submitted at the close of the receivership.

           ADJUDGED that the Development Specialist Inc.’s fees of $112,654.80 and expenses of

   $1,432.86 are APPROVED. The Receiver is authorized to pay Development Specialists, Inc. the

   sum of $91,556.70, representing 80% of the approved fees ($112,654.80) and 100% of expenses

   ($1,432.86) earned during the Fifth Application period of April 1, 2021 through June 30, 2021,

   with the remaining 20% of the approved fees to be paid out at the discretion of the Court as part

   of the final fee application submitted at the close of the receivership.

           ADJUDGED that Rehmann’s fees of $12,690.00 are APPROVED. The Receiver is

   authorized to pay Rehmann $10,152.00, representing 80% of the approved fees ($12,690.00) earned



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   during the Fifth Application period of April 1, 2021 through June 30, 2021, with the remaining

   20% of the approved fees to be paid out at the discretion of the Court as part of the final fee

   application submitted at the close of the receivership.

           ADJUDGED that E-Hounds, Inc.’s fees of $3,305.00 are APPROVED. The Receiver is

   authorized to pay E-Hounds, Inc. $2,644.00, representing 80% of the approved fees ($3,305.00)

   earned during the Fifth Application period of April 1, 2021 through June 30, 2021, with the

   remaining 20% of the approved fees to be paid out at the discretion of the Court as part of the

   final fee application submitted at the close of the receivership.

           ADJUDGED that Burnet, Duckworth & Palmer LLP’s fees of $15,015.00 and expenses

   of $310.50 are APPROVED. The Receiver is authorized to pay Burnet, Duckworth & Palmer LLP

   the sum of $12,322.50, representing 80% of the approved fees ($15,015.00) and 100% of expenses

   ($310.50) earned during the Fifth Application period of April 1, 2021 through June 30, 2021, with

   the remaining 20% of the approved fees to be paid out at the discretion of the Court as part of

   the final fee application submitted at the close of the receivership.

           ADJUDGED that Borden Ladner Gervais LLP’s fees of $7,832.30 and expenses of

   $220.49 are APPROVED. The Receiver is authorized to pay Borden Ladner Gervais LLP the sum

   of $6,486.33, representing 80% of the approved fees ($7,832.30) and 100% of expenses ($220.49)

   earned during the Fifth Application period of April 1, 2021 through June 30, 2021, with the

   remaining 20% of the approved fees to be paid out at the discretion of the Court as part of the

   final fee application submitted at the close of the receivership.

           ADJUDGED that Baker Donelson’s fees of $3,597.20 and expenses of $4.55 are

   APPROVED. The Receiver is authorized to pay Baker Donelson the sum of $2,882.31,

   representing 80% of the approved fees ($3,597.20) and 100% of expenses ($4.55) earned during



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   the Fifth Application period of April 1, 2021 through June 30, 2021, with the remaining 20% of the

   approved fees to be paid out at the discretion of the Court as part of the final fee application

   submitted at the close of the receivership.

           ADJUDGED that Bell Gully’s fees of $22,935.00 and expenses of $573.38 are

   APPROVED. The Receiver is authorized to pay Bell Gully $18,921.38, representing 80% of the

   approved fees ($22,935.00) and 100% of expenses ($573.38) earned during the Fifth Application

   period of April 1, 2021 through June 30, 2021, with the remaining 20% of the approved fees to be

   paid out at the discretion of the Court as part of the final fee application submitted at the close

   of the receivership.

           DONE and ORDERED in Chambers at Miami, Florida this ___ day August, 2021.


                                                        ____________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE


   Copies furnished to all counsel of record




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